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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN

                                                 :
Rodney Shepherd,                                 :
                                                 : Civil Action No.: 2:16-cv-13558-RHC-RSW
                                                 :
                        Plaintiff,               :
       v.                                        :
                                                 :
Ally Financial, Inc.,                            :
                                                 :
                        Defendant.               :
                                                 :


                                     NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated: November 28, 2016

                                                     Respectfully submitted,

                                                     By __/s/ Sergei Lemberg____________

                                                     Sergei Lemberg, Esq.
                                                     LEMBERG LAW, L.L.C.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 28, 2016, a true and correct copy of the foregoing
Notice of Settlement was served electronically by the U.S. District Court Eastern District of
Michigan Electronic Document Filing System (ECF) and that the document is available on the
ECF system.

Ariana F. Pellegrino, Esq.
Dickinson Wright PLLC
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Detroit, MI 48226
Attorney for Defendant


                                            By /s/ Sergei Lemberg
                                                   Sergei Lemberg, Esq.
